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                                    No. 23-1057


               IN THE UNITED STATES COURT OF APPEALS
                       FOR THE TENTH CIRCUIT


                                DAVID PEREZ, et al.,
                                 Plaintiff-Appellant,

                                          v.

                    CITY AND COUNTY OF DENVER, et al.,
                            Defendant-Appellee.


     On Appeal from the United States District Court for the District of Colorado
        No. 21-cv-01263-RMR-KLM, The Honorable Regina M. Rodriguez




                          APPELLANTS’ OPENING BRIEF
                            (Oral Argument is Requested)


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 1 May 2023
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                       INTEREST OF THE UNITED STATES

        The United States has a direct and substantial interest in the proper interpretation

 of Title VII of the Civil Rights Act of 1964, 42 U.S.C. 2000e, Americans with Disabilities

 Act 42 U.S.C. §12101, 12203 and the handling of state anti-discrimination laws similar

 to the Colorado’s Anti-Discrimination Act (CADA), Colo. Rev. Stat. § 24-34 that arise

 in this case. Federal courts of appeal have jurisdiction pursuant to 28 U.S.C. § 1291 of

 a district court’s abstention from exercising jurisdiction over a matter because it is a

 ‘final decision’ that puts the litigants ‘effectively out of court.’” (quoting Quackenbush

 v. Allstate Ins. Co., 517 U.S. 706, 713 (1996)).

        This case presents severely important question as to when does an employee

 exhausts their administrative remedies by timely filing a charge of discrimination due to

 inconsistencies of the administrative process, does the failure to state that one has

 received a notice of right to sue letter in a complaint offer an affiliative defense to support

 an Order on Motion to Dismiss or Final Judgment, can a defendant cure their Answer

 deficiency in their Reply Brief, and does informing supervisors of an employee’s

 termination date that has been already determined by an employee start the clock for a

 timely discrimination complaint to be filed.

               STATEMENT OF PRIOR OR RELATED APPEALS

                            There are no prior or related appeals.




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                          STATEMENT OF JURISDICTION

       The Appellant files this brief under Federal Rule of Appellate Procedure 29(a).

 The district court had original jurisdiction over Appellants’ claims pursuant to Title VII

 42 U.S.C. § 2000e, because Appellants’ claims arise under the United States

 Constitution, thus raising multiple federal questions. The district court also had

 jurisdiction under A.D.A. 42 U.S.C. § 1983 and CADA, Colo. Rev. Stat. § 24-34 because

 the underlying action seeks redress for the deprivation of constitutionally protected

 rights by those acting under the color of state and/or municipal law.

       On 7 February 2023, the district court issued an Order denying the Appellant’s

 Opposed Motion for Leave to File Third Amended Complaint and Dismissed the case

 with Prejudice on the grounds that the Plaintiff’s complaint “… fails to state a claim,

 and no amendment could cure the defect, a dismissal sua sponte may be appropriate.”

 App. Vol 2 at 179-190. Furthermore, the district court issued a Final Judgement on 7

 February 2023 stating that Plaintiff’s Opposed Motion for Leave to File Third

 Amended Complaint [ECF No. 42] is DENIED with a further order that this action is

 DISMISSED WITH PREJUDICE. App. Vol 2 at 191.

       On 21 March 2023, Appellant timely appealed the district court’s Order. App.

 Vol 2 at 192.




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                           STATEMENT OF THE ISSUE

        Knowing that he was subjected to Discrimination, Harassment and Retaliation

 acts from members of the Denver Fire Department and other City agents employed by

 the Defendant, the Appellant filed two complaints with the EEOC. App. Vol 1 at 226,

 Vol 2 at 141. In conjunction with the Appellant’s first filed EEOC complaint, a

 complaint was also filed with the CCRD. App. Vol 1 at 66, 228. All complaints were

 filed with due-process and the Plaintiff has satisfied the required administrative-

 complaint procedures established by the rules and regulations that are subject to this

 matter.

                            STATEMENT OF THE CASE

 I.     FACTUAL BACKGROUND

        Appellant-Plaintiff is a decorated veteran of the United States Marine Corps

 (USMC) with over 15 years of active and reserve military service. App. Vol 1 at 9, 11,

 46, 70, 153 (¶¶ 1, 12, 4, 3, 3). Plaintiff was deployed overseas three times, two of which

 were in a combat zone serving in Iraq. Plaintiff was also a Firefighter with the Denver

 Fire Department (DFD) for over 13 years. App. Vol 1 at 98, 154 (¶¶ 2, 3) Vol 2 at 54,

 59, 107 (¶¶3, 33, 1). Plaintiff is a disabled Veteran of the United States Military and has

 been determined permanently disabled through the Fire & Police Pension Association

 of Colorado (FPPA). App. Vol 1 at 153-154 (¶¶ 2, 3).

        On 13 March 2019 Plaintiff suffered a Line of Duty (LOD) injury while

 performing his duties as a firefighter for the Defendant. App. Vol 1 at 111, 159, 211,

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 213 (¶¶ 24, 243, I, II-1), Vol 2 at 61 (¶39). Plaintiff suffered a debilitating crush injury

 to his right dominate hand while mitigating a house fire from the use of a 10lb

 sledgehammer when another crew ignored the Plaintiffs order to stop their attempt of

 breaching a door. Plaintiff filed a Workers Compensation claim with the Defendant for

 this witnessed LOD injury. Plaintiff suﬀered a full thickness partial tear and large

 avulsion of the hand muscle and partial fracture to his sesamoid bone with his right

 hand, was placed in a cast and was put on light-duty with work restrictions of “No use

 of right hand.” App. Vol 1 at 159. The Defendant excepted the Workers Compensation

 (WC) Claim made by the Plaintiff and this injury was seen as a LOD injury by the

 Defendant. App. Vol 1 at 160 (¶ 28).

        On 8 April 2019, the day the Plaintiff had his cast removed but still on full

 restriction of “No use of right hand”, the Defendant violated the Plaintiff’s work

 restrictions when an Administrative Lieutenant ordered Plaintiff to hand write over 200

 inspections’ (Handwriting Incident) on a log sheet that was specifically made for the

 Plaintiff. Not only was this unnecessary because the inspections were already being

 tracked and completed digitally on an iPad, but this also violated Plaintiff’s work

 restrictions of “No use of right hand.” App. Vol 1 at 161 (¶34). Defendant does not

 deny that they violated the Plaintiff’s work restriction with this punishment. The

 Administration Lieutenant has admitted to enforcing this punishment as he stated in an

 email “I developed a spread sheet that could be hand written [sic] to track his completed

 inspections ... I instructed FF Perez to ﬁll out the Mod Inspection Spreadsheet for

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  businesses he would complete for the day.” This punishment would acerbate the

  Plaintiﬀ’s injury and cause permanent injury to the plaintiﬀ’s hand. App. Vol 1 at 163

  (¶39).

           After three months of self-therapy and rehab since the Defendant had not

  authorize any medical rehabilitation opportunities for the Plaintiff up until this point,

  Plaintiff met with his occupational health provider on 19 June 2019. App. Vol 1 at 163

  (¶¶ 2, 39).

           It was determined that any future treatment or physical therapy regarding

  Plaintiff’s LOD injury to his right hand would be focused on pain management and

  rehabilitation. Plaintiff was also informed that the pain and physical symptoms he was

  experiencing in his hand was likely to be long-term and that his condition may never

  improve. App. Vol 1 at 165 (¶46). The Plaintiff returned to full duty on 20 June 2019.

  App. Vol 1 at 160 (¶29), Vol 2 at 55, 67 (¶48, 61).

           In July 2019, Defendant finally authorized Plaintiff to begin physical therapy. On

  16 July 2019, Plaintiff began therapy for the LOD injury the Plaintiff suffered, four

  months after his initial injury and three months have the acerbation of his injury from

  the Handwriting Incident. App. Vol 1 at 55 (¶48).

           On 24 September 2019, Plaintiff’s medical provider determined that his LOD

  injury and pain symptoms were a safety concern, and that Plaintiff could no longer be

  in a safety sensitive position unless further evaluation determined otherwise. Plaintiff’s

  medical provider placed Plaintiff back on light duty with temporary work restrictions

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  of “No use of right hand.” App. Vol 1 at 55-56 (¶¶48, 49).

        On 7 October 2019, Plaintiff received a phone call from the Admin Lieutenant

  informing him he was being assigned to a scanning project where the Plaintiff’s sole

  duty and responsibility was to remove staples from paper. App. Vol 1 at 56 (¶54). While

  performing these tasks, comments were made by some of Plaintiff’s colleagues which

  include but not limited to, “looks like you are in time out, who did you piss off?” …

  “you know, if you keep pulling staples, you are going to get carpal tunnel” … “man,

  you are getting paid well for slave labor.” App. Vol 1 at 58 (¶56).

        On 17 October 2019, Plaintiff filed a complaint with the CCRD. In conjunction

  with this filing, a dual filing was made with the EEOC (Initial Complaint). App. Vol 1

  at 63. The Equal Employment Opportunity Commission (EEOC) and the Colorado

  Civil Rights Division (CCRD) have entered into a workshare agreement whereby each

  agency acts as the other's agent for the purpose of receiving and drafting employment

  discrimination charges. See Rodriguez v. Wet Ink LLC.

         In retaliation of the Plaintiff filing a complaint, the Defendant would deny

  further workers compensation and benefits for the Plaintiff’s LOD injury. On 22

  October 2019, Plaintiff received a letter from the Colorado Department of Labor

  (CDOL) and Employment’s Division of Workers’ Compensation that the City had

  denied the Plaintiffs WC claim and was contesting that his injury was job related. App.

  Vol 1 at 26, 57, 120, 167(¶¶52, 51, 40, 50).

        On 5 December 2019, Plaintiff reported to the Center for Occupational Safety

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  and Health (COSH) clinic and stated he had pain symptoms in his left hand from pulling

  staples for six plus hours a day for the last two months. App. Vol 1 at 122, 169 (¶¶56,

  56). On this same date, Plaintiff sent an email to the CCRD with his first request to

  amend his complaint for the continued harassment and discriminatory taken on by the

  Defendant. App. Vol 1 at 216, 233 (¶15, Email).

        On 6 December 2019, Defendant used Plaintiff’s work-related injury that was

  caused by their direct actions to place Plaintiff on Leave Without Pay (LWOP). App.

  Vol 1 at 123, 170, 216 (¶¶59, 59, 12).

        On 21 January 2020, being on LWOP for nearly a month and falling into a

  ﬁnancial hardship, Plaintiﬀ had to apply for public assistance through the Jeﬀerson

  County Human Service oﬀice. App. Vol 1 at 124, 171 (¶¶63, 63). Since Plaintiﬀ was

  still employed with the Defendant, Plaintiﬀ was ineligible for public assistance and

  could not receive any ﬁnancial or family assistance to oﬀset the loss in pay and lessen

  the ﬁnancial burden the Defendant had put on Plaintiﬀ and his family form being put

  on LWOP.

        On 23 January 2019, Plaintiff submitted a request for a hardship transfer to the

  Chief of Department, in efforts to return to work. Being on LWOP for over a month

  was causing a financial hardship, which this transfer request was denied. App. Vol 1 at

  66, 88, 125, 171 181, 204 (¶¶66, 20, 66, 66, 121, 20).

        On 24 January 2019, Plaintiﬀ was informed by the City’s Safety Human Resource

  Department that the DFD requested the start of the Interactive Process (IAP) aﬀorded

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  to the Plaintiﬀ under the (ADA). App. Vol 1 at 60, 61 (¶¶69, 72).

        On 27 January 2020, Plaintiff contacted the Defendants’ Human Resources

  Department regarding his work and medical condition and the continued retaliator and

  discriminatory acts the Plaintiff was dealing with from members of the DFD

  administration. App. Vol 1 at 126, 173 (¶¶70, 70). No follow-up or investigation was

  conducted to look into the Plaintiﬀ’s claim of a hostile work environment.

        On 21 February 2020, Plaintiff reach out to the CCRD in attempt to amend his

  complaint for a second time with no action taken regarding this request. App. Vol 1 at

  217, 235 (¶17, Email), Vol 2 at 56 (¶¶11).

        On 02 March 2020, Plaintiff received a notice from the Departments Safety

  Human Resource office informing the Plaintiff that the IAP process was going to end,

  even before the 90 days the Defendant was required by law in assisting the Plaintiff

  with finding other employment opportunities within the City’s other Departments.

  App. Vol 2 at 120 (Email).

        At midnight on 3 March 2020, the Plaintiﬀs employment with the Defendant

  was terminated. App. Vol 1 at 123, 127 (¶¶50, 74).

        On 28 May 2020, Plaintiff reach out to the CCRD in attempt to amend his

  complaint for a third time with no action taken regarding this request. App. Vol 1 at

  217, 237(¶¶20, Email), Vol 2 at 56, 79 (¶¶13, 104).

        On 05 June 2020, Plaintiff reach out to the CCRD in attempt to amend his

  complaint for a fourth time with no action taken regarding this request. App. Vol 1 at

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  217, 239(¶¶20, Email), Vol 2 at 56, 79 (¶¶15,104).

        On 15 October 2020, CCRD emailed a first draft of any amended complaint.

  App. Vol 1 at 240 (¶Email). This was 314 day after the Plaintiﬀ made his ﬁrst request

  to amend his complaint on 6 December 2019. App. Vol 1 at 216, 233, 251 (¶15, Email,

  Amend Cmpl).

        Plaintiff was informed by the CCRD that they could not amend his complaint

  with any additional claims due to them being time bared and they were out of the

  jurisdiction of the CCRD at that time. App. Vol 2 at 57 (¶17). Plaintiff was informed

  he had to file a new complaint with the EEOC for any additional charges due to the

  failure of the CCRD in not moving to amend the Plaintiffs complaint after the Plaintiff

  made numerous prior requests to the CCRD in doing so. App. Vol 1 at 242 (¶Email).

        On 09 November 2020, Plaintiff tried to amend his complaint with the EEOC,

  but the CCRD still had jurisdiction of the Plaintiff’s complaint and no further action

  could be taken until the CCRD removed itself from having jurisdiction. App. Vol 1 at

  242 (¶Email).

        On 11 November 2020, Plaintiff contacted the EEOC in regard to the amended

  charges Plaintiff wanted to file. App. Vol 2 at 57, 80, 123 (¶¶18, 106, A). An intake

  Interview was performed on 14 December 2020. App. Vol 2 at 80, 137 (¶¶107, 25).

        Instead of offering to amend the initial complaint filed with the EEOC on 17

  December 2019, Plaintiff was informed that he needed to draft and file a whole new

  complaint and submit it to the EEOC no later than 28 December 2020. App. Vol 2 at

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  80, 124 (¶¶107, 2).

         Plaintiﬀ drafted an oﬀicial Charge of Discrimination which was notarized on 24,

  December 2020. App. Vol 1 at 166 (¶¶1075), Vol 2 at 137, 141 (¶¶27, Compl). Plaintiff

  submitted his notarized Charge of Discrimination to the EEOC on 28 December 2020.

  App. Vol 2 at 115 (Email).


  II.    PROCEDURAL BACKGROUND

         A. Administrative Proceedings. Plaintiff filed a complaint with the CCRD,

  complaint # E2000007124. App. Vol 1 at 228. A complaint was also filed with the

  EEOC, complaint # 32A-2020-00038 in conjunction with the CCRD complaint. App.

  Vol 1 at 228. The EEOC and the CCRD are entered into a workshare agreement

  whereby each agency acts as the other's agent for the purpose of receiving and drafting

  employment discrimination charges. Rodriguez v. Wet Ink, LLC, 603 F.3d 810, 813

  (10th Cir. 2010).

         On 20 November 2020, both Plaintiff and Defendant received electronically a

  determination letter and Notice of Right-to-Sue (NRTS) which informed the Plaintiff

  he can pursue a civil action in a district court of the state of Colorado if he wishes to

  do so. App. Vol 1 at 252. A Certificate of e-mail was provided to the Defendant. App.

  Vol 1 at 265.

         On 14 December 2020, Plaintiff completed an intake Interview with the EEOC

  and was they informed the Plaintiff he needed to file another complaint. App. Vol 2 at


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  80, 137 (¶¶107, 25).

         On 28 December 2020, a second complaint was submitted and filed through the

  EEOC against the Defendant. App. Vol 1 at 266.

         On 9 February 2021, Plaintiff received in the mail a NRTS letter from the EEOC,

  # 32A-2020-00038, for his first claimed filed on 17 October 2019. App. Vol 1 at 92.

         On 4 May 2021, Plaintiff received electronically a NRTS Letter from the EEOC

  # 541202100309 for his second claim filed on 28 December 2020. App. Vol 1 at 93.

         B. District-court Proceeding. On 7 May 2021, Plaintiff filed his complaint

  against the Defendant in the United States District Court for the District of Colorado,

  86 days after receiving his first NRTS letter on 10 February 2021, App. Vol 1 at 92. and

  3 days after receiving his second NRTS letter on 4 May 2021. App. Vol 1 at 93.

  III.   RULING PRESENTED FOR REVIEW

         On 7 February 2023 the district court entered a 12-page Order and DISMISSED

  WITH PREJUDICE the Plaintiffs request for leave to amend his second complaint.

  App. Vol at 179. In its Order, the district court concluded that “Where a complaint

  fails to state a claim, and no amendment could cure the defect, a dismissal sua sponte

  may be appropriate.”… “If such dismissal operates on the merits of the complaint, it

  will also ordinarily be entered with prejudice.” App. Vol 2 at 190. On 7 February 2023

  the district court also entered a 1-page FINAL JUDGMENT and DISMISSED the

  action WITH PREJUDICE. Vol 2 at 191.




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                                STANDARD OF REVIEW

         This Court reviews de novo the district court’s grant of final judgment. When

  reviewing a grant of final judgment, this Court must “consider[] all evidence in the light

  most favorable to the nonmoving party.” See D.L. v. Unified Sch. Dist. No. 497, 596

  F.3d 768, 772 (10th Cir. 2010). Plaintiffs asserted violations of, inter alia, their natural

  and fundamental rights to be free of Discrimination, Harassment and Retaliation in the

  workplace and from Discrimination, Harassment and Retaliation for from pursuing

  one’s civil rights, as protected by the Civil Rights Act governed by the United States

  Constitution—a violation that the United States District Court for the District of

  Colorado was well-appointed to adjudicate.

         Instead of exercising its jurisdiction and adjudicating on its merits the Plaintiffs

  constitutional, federal, and state claims, the district court instead opted to dismiss

  jurisdiction under the fabrication and miss leading pleadings by the Defendant. The

  district court’s exercise of legal jurisdiction in this case ignores federal policy as well as

  Supreme Court and Tenth Circuit decisions against abstaining from deciding violations

  of one’s fundamental rights, which violations will undoubtedly have an impermissible

  unsettling influence on those same rights of others. By withdrawing so early in the case,

  the district court also failed to allow for the factual and legal development necessary to

  properly engage in an analysis of the claims for relief that the Plaintiff has brought forth.

         The Defendants have made false statements that brought forth misleading

  assertions in their defense and the Defendants have acted deliberately with sound

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  knowledge that their claims present were knowingly false. This has misled the district

  court from the truth in its concluding a Final Judgement. The Defendants continuous

  core campaign of bad faith, deception and deﬂection go against fundamental rulings set

  forth by the Supreme Court and the Tenth Circuit. Federal courts are the primary

  tribunals for the vindication of constitutionally protected rights. With the passage of

  the Civil Rights Act, Congress further granted to the federal courts’ jurisdiction over

  violations of individuals’ federally guaranteed rights by state or local governments under

  the color of state law. See 42 U.S.C. § 1983.

                                       ARGUMENT

         The district court erred in determining that it could not hear Plaintiffs claims for

  compensatory damages under Title VII of the Civil Rights Act of 1964, 42 U.S.C. 2000e,

  Americans with Disabilities Act 42 U.S.C. §12101, 12203(a)and the handling of state

  anti-discrimination laws similar to the Colorado’s Anti-Discrimination Act (CADA),

  Colo. Rev. Stat. § 24-34 because, in its view, the district court claimed that the Plaintiff

  did not exhaust his administrative remedies through the EEOC and CCRD

  administrative process. This Court should reverse for the following independent

  reasons.


  I.     The district court incorrectly dismissed the Plaintiff’s claims for failure to
         exhaust administrative remedies.

         In the Defendants Answer to Plaintiff’s initial complaint on Count’s I, III, IV

  as they pertain to the Plaintiffs Title VII and ADA claims, the Tenth Circuit has held


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  that the failure to properly exhaust administrative remedies in a Title VII and ADA

  context does not preclude the Court from exercising jurisdiction over the claims, but

  rather, can be raised as an affirmative defense. See Lincoln v. BNSF Ry. Co. The

  purposes of a motion to dismiss [under Rule 12(b)(6)], [courts] must take all of the

  factual allegations in the complaint as true,” Iqbal, 556 U.S. at 678, “[c]ourts are

  permitted to review ‘documents referred to in the complaint if the documents are

  central to the plaintiff’s claim and the parties do not dispute the document’s

  authenticity.’” See Toone v. Wells Fargo Bank, N.A..

         The Tenth Circuit has explained, “[w]hen an employee seeks judicial relief for

  incidents not listed in the original charge to the EEOC, the judicial complaint

  nevertheless may encompass any discrimination like or reasonably related to the

  allegations of the EEOC charge, including new acts occurring during the pendency of

  the charge before the EEOC.” MacKenzie v. City & County of Denver. Further, “an

  act committed by an employer in retaliation for the filing of an EEOC complaint is

  reasonably related to that complaint, obviating the need for a second EEOC

  complaint.” See Ingels v. Thiokol Corp. Several key dates, alleged infractions by the

  Defendant and factual attempts by the Plaintiff to exhaust his administrative remedies to

  amend his initial complaint which needs to be highlighted to paint a clear picture and to

  bare weight that the Plaintiff did indeed exhaust his administrivia remedies within his

  control in bring a suit in a district court.

         A.     Defendant violated the Plaintiffs work restrictions with the punishment of

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  the Handwriting Incident App. Vol 1 at 161 (¶34). and has admitted to this act. App.

  Vol 1 at 163 (¶39).

         B.     Defendant retaliated against the Plaintiff and denied his WC claim, App.

  Vol 1 at 26, 57, 120, 167(¶¶52, 51, 40, 50). three days after the Plaintiff filed his

  complaint with the EEOC and CCRD. App. Vol 1 at 63. and after they have already

  accepted this injury as work related. The Plaintiff’s filing is a protective activity. Playing

  any role in an internal investigation should be deemed to constitute protected

  participation and protected an employee from discrimination, harassment, or retaliation

  in doing so. It is well settled that the participation clause shields an employee from

  retaliation regardless of the merit of his charge. See Sias v. City Demonstration Agency,

  588.

         C.     The Defendant cause additional harm to the plaintiff by subjecting him to

  a degrading and fruitless position of removing staples for over 6+ hrs a day, 5 days a

  week for two months. App. Vol 1 at 56 (¶54).

         D.     On 9 December 2019, Defendant used the work restriction cause by the

  tasks of pulling’s staples and the permanent injury resulting from the Handwriting

  Incident to place the Plaintiff on LWOP causing a financial hardship. App. Vol 1 at 123,

  170, 216 (¶¶59, 59, 12).

         E.     On 9 December 2019, Plaintiff contacted the CCRD to amend his Initial

  Complaint, App. Vol 1 at 216, 233 (¶15, Email) 50 days after he filed his Initial

  Complaint on 17 October 2019.

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         F.     On 23 January 2010, Defendant ignored a direct request to the Chief of the

  DFD for return to work in a position in which the Plaintiff was suitable of doing without

  accommodations. An act that has been presented to other employees in the past which

  these employees had more severe injuries than that of the Plaintiff. App. Vol 1 at 66, 88,

  125, 171 181, 204 (¶¶66, 20, 66, 66, 121, 20).

         G.     On 24 January 2020, the Defendant initiated the Interactive Process. Vol

  1 at 124, 171 (¶¶64, 64)

         H.     On 21 February 2020, Plaintiff reach out to the CCRD to amend his

  complaint again for the second time, App. Vol 1 at 217, 235 (¶17, Email), Vol 2 at 56

  (¶¶11). 127 days from when the Plaintiﬀ ﬁle his Initial complaint on 17 October 2019.

         I.     On 28 February 2020, Defendant terminated the Plaintiffs Inter-Active

  Process, App. Vol 2 at 119 (Email) only 35 days into the IAP and prior to the 90 days

  required by law under the ADA, stating that the Plaintiffs medical disability disqualified

  him for further pursuit of the IAP even though the Plaintiff requested for the process to

  pursue. Plaintiff responded to the Defendant stating “I wish to renew my request for

  reasonable accommodation for my Line of duty injury. There are several positions that I

  have recently found that fit my background and experience. Being that I am still a city

  employee, is there any support or services through the city after March 2, 2020 regarding

  accommodations for my Line of Duty Injury that the city provides me with my continued

  search of finding a job within the city?“ App. Vol 2 at 119, (Email 2) Defendant has not

  raise one argument to the validity that this statement was false showing the truthfulness

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  of the Plaintiffs statement. At midnight of 3 March 2020, Plaintiff’s employment was

  terminated by the Defendant even after the Plaintiff clearly requested more time to

  remain employed with the City to continue the Interactive Process afforded to him under

  the ADA. 29 C.F.R. §§ 1614.203 and 1630.2.

         J.     Plaintiff would reach out again to the CCRD for a third time on 28 May

  2020, App. Vol 1 at 217, 237 (¶¶20, Email), Vol 2 at 56, 79 (¶¶13, 104). 225 days after the

  Initial Complaint was filed, and again for a fourth time on 5 June 2020, App. Vol 1 at

  217, 239 (¶¶20, Email), Vol 2 at 56, 79 (¶¶15,104). This was 232 days after the Initial

  Complaint was filed and 94 days after the las discriminatory retaliatory act made by the

  Defendant towards the Plaintiff.

         Under the EEOC, an employee must file a charge of discrimination within 300

  days of the date in which an incident occurred and under Colo. Rev. Stat. § 24-34

  employee must file a charge of discrimination within 180 days of the alleged violation, to

  include attempt to amend a complaint. Also, under Colo. Rev. Stat. § 24-34, CCRD has

  to investigate a claim or retain jurisdiction over discrimination charges within 270-day.

         This court needs to take into great consideration the multiple lawless acts pursed

  against the Plaintiff by the Defendant, the multiple attempts the Plaintiff tried to raise

  claims them with the CCRD in his attempt to amend his Initial Complaint. All these

  attempts were within the statute of limitations of each discriminatory act and through the

  proper administrative channels. It is the failure of the administrative process that is being

  used against the Plaintiff in the argument that the Plaintiff failed to exhaust his

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  administrative remedies.     This has allowed the Defendant to raise the numerous

  affirmative defenses in the manner in which they have been argued in this case and where

  the failures of the administrative process and not at the direct hand of the Plaintiff.

  I I . Equitable tolling requires a party to satisfy two distinct elements
        which the Plaintiff has met.

          On 25 January 2016, in Menominee Indian Tribe of Wisconsin v. U.S., the US

  Supreme Court held that equitable tolling requires a party to satisfy two distinct elements:

  diligent pursuit of its rights and extraordinary circumstances beyond its control

  preventing timely filing. The Plaintiff has clearly met these two requirements.

         The Plaintiff, on four different occasions through emails and numerous phone

  calls attempted to amend his complaint with the CCRD meeting the first requirement

  that a party needs to diligently make pursuit of their rights. The CCRD finally responded

  with an amend complaint on 15 October 2020, 226 days after the last incident occurred

  in order to bring forth a claim. The CCRD makes claim that all matter outside of the

  Initial Complaint were then timed barred and out of their jurisdiction which the Plaintiff

  does not contest. However, the failures of the CCRD to address the Plaintiffs multiple

  requests to amend his complaint should not be grounds for an affirmative defense for

  failure to exhaust administrative remedies. Also, the Plaintiff could not amend the

  complaint filed with the EEOC due to the workshare agreement between the EEOC

  and CCRD.

         In several attempts, in the quest in pursuit of the Plaintiff rights, and at the



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  request of the CCRD, Plaintiff continued to provide additional facts regarding the

  claims made by the Plaintiff. On 10 November 2020, Plaintiff emailed the CCRD

  additional information regards the Plaintiff claims Appl. Vol 1 at 242 (Email 1).

  Unknowingly the CCRD was making a final determination and without any further

  decision regarding a pending amended complaint, on 20 November 2020, both Plaintiff

  and Defendant received a determination letter in favor of the Defendants plea which

  also informed the Plaintiff he can pursue a civil action or NRTS in a district court of

  the state of Colorado if he wishes to do so. App. Vol 1 at 252. A Certificate of e-mail

  was provided to the Defendant. App. Vol 1 at 265.

          Because the CCRD failed to amend the complaint of the Plaintiff, this delayed

  the Plaintiffs ability to amend his complaint. As stated previously in this brief, the

  Tenth Circuit has explained, “[w]hen an employee seeks judicial relief for incidents not

  listed in the original charge to the EEOC, the judicial complaint nevertheless may

  encompass any discrimination like or reasonably related to the allegations of the EEOC

  charge, including new acts occurring during the pendency of the charge before the

  EEOC.” MacKenzie v. City & County of Denver. Further, “an act committed by an

  employer in retaliation for the filing of an EEOC complaint is reasonably related to that

  complaint, obviating the need for a second EEOC complaint.” See Ingels v. Thiokol

  Corp.

          On 11 November 2020, Plaintiff contacted the EEOC regards to amended

  charges Plaintiff wanted to file. App. Vol 2 at 57, 80, 123 (¶¶18, 106, A). An intake

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  Interview was performed on 14 December 2020. App. Vol 2 at 80, 137 (¶¶107, 25).

  But instead of amend his complaint, the EEOC instructed the Plaintiff on 9 December

  2020 that a second complaint had to be filed giving and needed to be submitted by 28

  December 2020. App. Vol 2 at 140. Plaintiff’s complaint should have been amended

  by the EEOC instead of Plaintiff having to filing a second complaint causing additional

  burden on the Plaintiff in bringing forth additional claims to a district court. The failure

  of the CCRD to amend the Plaintiffs initial complaint and the EEOC requiring the

  Plaintiff to file a second EEOC charge instead of amending his initial complaint can

  raise a strong argument that these extraordinary circumstances were beyond control of

  the Plaintiff preventing a timely filing.

  III.   Defendant cannot cure Answer deficiency in their Reply Brief.

         Under the General Rules of Pleading, to survive a Motion to Dismiss, a pleading

  must be a short and plain statement of the grounds for the court's jurisdiction, unless

  the court already has jurisdiction and the claim needs no new jurisdictional support; a

  short and plain statement of the claim showing that the pleader is entitled to relief; and

  a demand for the relief sought, which may include relief in the alternative or different

  types of relief. See Rule 8(a) The Plaintiff’s complaint had met this requirement. Also,

  a complaint must contain “sufficient factual matter, accepted as true, to 'state a claim

  to relief that is plausible on its face.'" See Ashcroft v. Iqbal, again requirements which

  the Plaintiff’s complaint had met.

         The US Supreme Court has ruled that a complaint does not need to include a

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  demonstration that administrative remedies have been exhausted. See Jones v. Bock.

  However, courts should generally not depart from the Federal Rules’ usual practice based

  on perceived policy concerns. See Leatherman v. Tarrant County Narcotics Intelligence

  and Coordination Unit.


        In the Defendants Answer to Plaintiff’s initial complaint on Count II, V and VI

  as they pertain to the Plaintiffs CADA claims, Defendants stated that “This Court Lacks

  Subject Matter Jurisdiction Over Counts II, V, and VI Because Plaintiff Did Not Secure

  A Timely Right To Sue Notice From The CCRD.” App. Vol 1 at 192 (¶IV-A). The

  Defendant further claimed that the plaintiff did not contend that he timely filed a charge

  with, or received a right to sue letter, from the CCRD, which was claimed to be

  necessary to establish this Court’s jurisdiction. Defendant cited Brooks v. Denver Pub.

  Sch., No. 17. App. Vol 1 at 192,(¶IV-A-1).

        First this court needs to look at the overall context of Brooks v. Denver Pub.

  Sch., No. 17. In the case of Brooks v. Denver, Mr. Brooks does not allege in his

  Complaint or assert in his response that he filed a discrimination charge with the CCRD

  because that act was never initiated. Instead, Mr. Brooks argues that his charge with

  the EEOC exhausted his CADA claims. In that case, the Plaintiff’s response to the

  Motion to Dismiss, according to Mr. Brooks, because the EEOC and CCRD have a

  worksharing arrangement, he did not need to file a charge with both agencies. The

  Court disagreed and explained that the CADA requires a plaintiff to file a charge with



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  the CCRD, not the CCRD or the EEOC. Colo. Rev. Stat. § 24-34-306(1)(a) (requiring

  a charge of discriminatory or unfair practices to be filed "with the division"). Not only

  are the Defendant statement in this case prudent but are also untrue and deflecting from

  the actual facts.

         The Plaintiff filed a complaint with both the CCRD and the EEOC jointly.

  CCRD, complaint # E2000007124, EEOC, complaint # 32A-2020-00038. App. Vol 1

  at 228 which the Defendant was aware of. Also, not only did the Plaintiff and

  Defendant receive a notification from the CCRD of a NRTS letter from the CCRD,

  App. Vol 1 at 252. the Defendant received this notice via email which a Certificate of

  e-mail was provided to the Defendant. App. Vol 1 at 265. The Defendant knowing and

  willing made false claims on facts already known in their affirmative defense that the

  Plaintiff did not receive a NRTS letter, only to miss lead the court of the true nature of

  the claim.

         The Defendant also states the Plaintiff did not contend in his initial complaint

  that he exhausted his administrative remedy only to use that as an affirmative defense

  which the US Supreme Court has determine is not a requirement. See Jones v. Bock.

  The district court would use this to weigh on their decision of Motion for Final

  Judgement. App. Vol 2 at 179. The district court also failed to recognize that extrinsic

  evidence may be considered part of a complaint when it is (1) attached to the pleading,

  (2) incorporated by reference in the pleading, or (3) the court deems the evidence

  integral to at least one claim in the pleading. See Bank of New York Mellon Trust Co.

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  v. Morgan Stanley Mortg. A court can deem extrinsic evidence as part of pleading, such

  evidence may be considered without conversion. See Madu, Edozie & Madu, P.C. v.

  SocketWorks Ltd.

         However, in this case, both parties were aware that administrative remedies were

  met with an issued determination letter and NRTS by the CCRD. The Defendant

  perfected their pleaded with this in their Answer stating that the Plaintiff did not receive

  a NRTS from the CCRD, given way to a single argument on that fact only that the

  Plaintiff did receive a NRTS form the CCRD. Again, these are facts the Defendant had

  full knowledge of before that statement was made. This claim set up the Plaintiff to

  simply respond by providing proof that a NRTS letter was received. The Plaintiff felt

  there was no other arguments were needed for this claim in their response to the Motion

  to Dismiss pleading by the Defendant. App. Vol 1 at 211, 252 (¶¶Response, Det Ltr).

  In the Defendants Reply in their support for Motion to Dismissal, App. Vol 1 at 285,

  Defendant then for the ﬁrst time raised the argument that the Plaintiﬀ’s claim where

  time bared and not timely which failed to exhaust administrative remedies to bring suit

  because there were beyond statute of limitation for this claim. App. Vol 1 at 288.

  Defendant rose this argument citing the case, Strike, LLC, v. Sandy Creek Farms, Inc.

  There is a striking contrast from the case the Defendant sited vs. the Plaintiﬀs pleading

  in this case. In Strike, LLC, v. Sandy Creek Farms, Inc, the Plaintiﬀ failed to disclose

  identities of individual directly involved in the case which were needed in supporting

  arguments to the Plaintiﬀs clams which was required by Rule 8 general rules of a

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  pleading.

         In this case, the Defendant argues administration action and facts that were

  already privy to all parties in eﬀorts to deny the Plaintiﬀ the ability to bring argument

  to the timeliness of the CADA claims in reply since that opportunity was no longer

  available to the Plaintiﬀ to argue the claim.

         In addition, the District Court favored the Defendants knowing and willful false

  claims that the Plaintiff gave a notice of resignation of employment as an employee of

  the City and County of Denver. The court stated “his constructive discharge accrued

  ‘when [he] g[a]ve[] notice of his resignation’ on February 27, 2020, when he emailed his

  chain of command with ‘notice of his intent to take disability retirement’ and his intent

  to ‘end[] his DFD employment on March 2, 2020..”citing Green v. Brennan. App. Vol

  2 at 186 (¶2). Green vs Brenna has no merit to be cited in affirmative defenses of

  reason for Motion to Dismiss or Final Judgement for following single reasons.

         The Defendant argued a claim that a Plaintiff Cannot Cure His complaint

  Deficiencies in a Response to a Motion to Dismiss, Citing Qwest Commc’ns Int’l, Inc.

  App. Vol 1 at 287 (¶III-A). which the district court used to issue an Order on Final

  Judgement. This claim should also bare weight when considering an Answer to a

  Complaint filed by a Defendant and what claims are made which with intention to

  depart from the truth and are considered misleading. This court should hold the

  statements presented in that Answer by the Defendant to the same standards, more

  particularly on facts that are already know by a party and not pleaded on their merits.

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  The Defendant should not be able to cure their Answer Deficiencies in a reply brief.

     IV.    Defendant arguments are partial and misleading.

         In many of the cases cited by the Defendant in their arguments for a Motion to

  Dismiss, the cases cited are partial in nature or are not relevant to the respective claims

  of this case in whole.    These cited cases have only misled the district court in case

  review to give weight to the Order of Final Judgement.

         For example, as stated early in this brief, Defendant cites Brooks v. Denver Pub.

  Sch., No. 17 and also Jackson v. City & Cty. of Denver, for not obtaining a NRTS letter

  from the CCRD in the request to dismiss Counts II, V, VI. In Brooks v. Denver Pub.

  Sch., No. 17, the Plaintiff never filed with the CCRD. However, within the four corners

  of this case, the Plaintiff did file with the CCRD. App. Vol 1 at 228. In the case of

  Brooks v. Denver Pub Sch., No. 17, this claim is related to a single EEOC filing and

  has no mention of a CADA claim filed with the CCRD because the Plaintiff failed to

  file a complaint with the CCRD. Though there is a workshare agreement between the

  two, an EEOC filing does not fulfill the exhaustion of administrative remedies through

  the CCRD.

         Regarding the claims for relief found in Count I (VII Discrimination), Defendant

  asserted that this claim for relief is time barred because the wrongful discharge and

  termination of the Plaintiff’s employment occurred outside of the 300 days for a

  Plaintiff to make a claim. As previous mentioned in this complaint, the US Supreme

  Court has ruled that a complaint does not need to include a demonstration that

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  administrative remedies have been exhausted. See Jones v. Bock. However, courts

  should generally not depart from the Federal Rules’ usual practice based on perceived

  policy concerns. See Leatherman v. Tarrant County Narcotics Intelligence and

  Coordination Unit. Plaintiff made numerous attempts to amend his complaint with the

  CCRD. But because of the workshare agreement, the failure of the CCRD to allow an

  amended claim deprived the Plaintiff the ability to bring the claims in front of the EEOC

  because the CCRD still held jurisdiction. The failures of the CCRD to address and amend

  the Plaintiffs claim at his request should not deprive the civil rights of any plaintiff to

  bring claims to a district court.

         In the district court for Final Judgment, the district court cited Green v. Brennan

  supporting the argument that the Plaintiff gave notice of resignation in an email in

  which he was only informing his supervisor of his last day as a firefighter. App. Vol 2

  at 186. Referencing the case of Green v. Brennan, on 16 December 2009, Green and

  the Postal Service signed an official agreement. This agreement stated that the Postal

  Service promised not to pursue criminal charges in exchange for Green's promise to

  leave his post in Englewood Colorado. The agreement also gave Green a choice to

  either retire or report for duty in another city and state. Green chose to retire and

  submitted a resignation letter to the Postal Service. The date that he made the decision

  to retire was the date his time to file a complaint began.

         In this present case, Plaintiff and Defendant never discuss any agreement for

  retirement nor was there any formal written agreement signed and/or submitted by the

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  Plaintiff that has been reference in Green v Brennan. An acceptance for disability

  benefits from an outside party does not deprive an employee of their rights for

  accommodation for a work-related injury, and not to preclude accommodations if that

  injury was a direct a result of the gross negligence of an employer handing down a

  punishment. The defendant only makes broad allegations that the Plaintiff chose to

  end his employment as an employee of the City and County of Denver and has not

  provided a single letter of resignation, any accepted end of employment agreement, nor

  provide any other communication written or verbal or any other evidence of the claim

  that can give solid evidence the Plaintiff voluntary ended his employment. They have

  only cited an email that the Plaintiff used to inform his supervisor of the end of

  employment date that the Defendant had single handedly determined for the Plaintiff.

        The Defendant also has not argued that they ignored numerous requests from

  the Plaintiff for other work positions which he could have performed without

  accommodations. This includes the request to continue the Interactive Process that

  should have been afforded to the Plaintiff which ended prematurely. If the Plaintiff

  really wanted to resign, he would have submitted a similar “Letter of Intent to Resign"

  letter like the one the Plaintiff had previous done when he found himself working under

  similar conditions in 2016. App. Vol 1 at 19, 51, 77, 91 (¶¶35, 29, 38, 33).

        In regards to the claims for relief found under Count III and IV of the ADA

  (failure to accommodate and retaliation), the punishment handed down by the

  Administrative Lieutenant fell under the first EEOC charged which was timely filed

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  upon receipt of the NRTS letter from the EEOC. Plaintiff made numerous attempts

  to amend his complaint to plead all his related claims there after. Plaintiff would have

  filed a charge with the district court immediately after receipt of the first NRTS from

  the EEOC but plaintiff needed to wait for the second EEOC charge so the Plaintiff

  would have to file two separate complaints that were related to each other.

                                      CONCLUSION

           The court needs to take into consideration the numerous baseless affirmative

  defenses the Defendant has taken to deflect from the true facts of this case and the

  timeliness pursuit by the Plaintiff to exhaust the administrative remedies required by this

  court.     This Court should reverse the district court’s decision and remand for

  proceedings on the merits of the Appellants Title VII ADA and CADA claims.

                                                   Respectfully submitted,*

                                                    /s/ David Perez

                                                   David Perez, Pro Se’ Plaintiff-Appellant




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                STATEMENT REGARDING ORAL ARGUMENT

        Appellant requests oral argument. Oral argument would aid the Court in

  clarifying what exhaustion under Title VII, ADA and CADA are required, as well as

  resolving the extent to which these protected Acts demands that plaintiffs seeking

  remedies unavailable under them and how they must exhaust with the administrative

  procedures, an answer confirmed by the Supreme Court in Menominee Indian Tribe of

  Wisconsin v. United States.

                                               Respectfully submitted,*

                                                /s/ David Perez

                                               David Perez, Pro Se’ Plaintiff-Appellant




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  R. App. P. 32(a)(7)(B) because, excluding the parts of the document exempted by Fed.R.

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   1 May 2023                                      /s/ David Perez

                                                  David Perez, Pro Se’ Plaintiff-Appellant




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  10th Cir. R. 25.5, is an exact copy of the paper copies submitted to the U.S. Court of

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  1 May 2023                                      /s/ David Perez

                                                 David Perez, Pro Se’ Plaintiff-Appellant




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                               CERTIFICATE OF SERVICE

                I certify that, on 1 May 2023, I electronically filed this Opening Brief of

  Appellant David Perez using the Court’s CM/ECF system, which will send

  notification of its filing to the following people:

                Charles Mitchell (Charles.Mitchell@denvergov.org),

                and

                Jonathan.Saadeh, (Jonathan.Saadeh@denvergov.org).



                                                    /s/ David Perez
                                                    David Perez, Pro Se’ Plaintiff-Appellant




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